     Case 3:21-md-02981-JD         Document 997         Filed 08/07/24         Page 1 of 4




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16                             UNITED STATES DISTRICT COURT

17                            NORTHERN DISTRICT OF CALIFORNIA

18                                  SAN FRANCISCO DIVISION

19   IN RE GOOGLE PLAY STORE                           Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
20                                                     GOOGLE’S ADMINISTRATIVE
     THIS DOCUMENT RELATES TO:                         MOTION TO CONSIDER WHETHER
21                                                     ANOTHER PARTY’S MATERIAL
     Epic Games Inc. v. Google LLC et al., Case        SHOULD BE SEALED
22   No. 3:20-cv-05671-JD
                                                       Judge: Hon. James Donato
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      GOOGLE’S ADMIN. MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
      Case 3:21-md-02981-JD           Document 997          Filed 08/07/24       Page 2 of 4




 1          Pursuant to Civil Local Rules 7-11 and 79-5(c-f), Defendants Google LLC, Google Ireland

 2 Limited, Google Commerce Ltd., Google Asia Pacific Pte. Ltd., and Google Payment Corp.

 3 (collectively, “Google”) respectfully submit this Administrative Motion to Consider Whether

 4 Another Party’s Material Should Be Sealed relating to Exhibit 1 to the Declaration of Jonathan I.

 5 Kravis (“Kravis Decl.”) in support of Google’s Administrative Motion for Leave to File a

 6 Supplemental Brief Regarding Epic’s Response to Google’s Proffer. A public redacted version

 7 of the Exhibit has been filed in accordance with this Court’s local rules. The excerpt at issue in

 8 this Motion to Seal was designated as “NON-PARTY HIGHLY CONFIDENTIAL – OUTSIDE
 9 COUNSEL EYES ONLY” pursuant to the Protective Order entered by the Court, ECF No. 248.

10          Subsection (f) of Civil Local Rule 79-5 sets forth procedures that apply when a party seeks
11 to file information designated as confidential by another party. Under subsection (e), the “motion

12 must identify each document or portions thereof for which sealing is sought” and “serve the

13 motion on the Designating Party the same day the motion is filed.” Pursuant to subsection (f)(1),

14 the Designating Party has seven days to “file a statement and/or declaration” to establish why such

15 designated material should be kept under seal pursuant to subsection (c)(1) of Civil Local Rule 79-

16 5.

17          Google identifies the following portions of its Opposition and supporting papers as

18 containing information designated as confidential by another party:

19

20          Portion containing confidential information     Designating Party or Third-Party
            Exh. 1 to Kravis Decl.,                         Epic Games
21          at Tr. 214:25-217:13.
22

23 Google takes no position on whether the materials identified in this table are privileged,

24 protectable as a trade secret, or otherwise entitled to protection under the law.

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        GOOGLE’S ADMIN. MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                                  Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
     Case 3:21-md-02981-JD       Document 997           Filed 08/07/24       Page 3 of 4




      DATED: August 7, 2024                    Respectfully submitted,
 1

 2                                            By:             /s/ Lauren N. Beck
                                                            Lauren N. Beck
 3

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     GOOGLE’S ADMIN. MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
                              Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
      Case 3:21-md-02981-JD          Document 997          Filed 08/07/24       Page 4 of 4




 1                                     E-FILING ATTESTATION

 2          I, Lauren N. Beck, am the ECF User whose ID and password are being used to file this

 3 document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the

 4 signatories identified above has concurred in this filing.

 5                                                           /s/ Lauren N. Beck
 6                                                          Lauren N. Beck

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                                 Case Nos. 3:21-md-02981-JD, 3:20-cv-05671-JD
